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     XAVIER JOHNSON
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      )       No. 12-CR-00250-GEB
                                                    )
12                                                  )       STIPULATION AND
            Plaintiff,                              )       [PROPOSED] ORDER CONTINUING CASE
13                                                  )       AND EXCLUDING TIME
     v.                                             )
14                                                  )
     XAVIER JOHNSON,                                )       Date: August 5, 2016
15                                                  )       Time: 9:00 am.
     KRISTIN M. CALDWELL,                           )       Judge: Honorable Garland E. Burrell, Jr.
16
     WILLIAM L. BROWN.                              )
                                                    )
17          Defendants.                             )
                                                    )
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21
            IT IS HEREBY stipulated between the United States of America through its undersigned

22
     counsel, Matthew Morris, Assistant United States Attorney, attorney for plaintiff, together with

23
     Kelly Babineau, attorney for defendant Kristin Caldwell; Olaf Hedberg, attorney for defendant

24
     William L. Brown and Kyle Knapp, attorney for defendant Xavier Johnson that the previously-

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     scheduled status conference, currently set for August 5, 2016, be vacated and that the matter be

26
     set for status conference on August 19, 2016 at 9:00 a.m.

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            Counsel have conferred and this continuance is requested to allow all defense counsel

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     additional time to finalize review of the discovery, met again with our clients, investigate



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 1   possible defenses. Mr. Hedberg is new to the case and the brief continuance will further his
 2   efforts to fully analyze the dynamics of the case.
 3          IT IS FURTHER STIPULATED that the ends of justice served by the granting of such a
 4   continuance outweigh the best interests of the public and the defendant in a speedy trial and that
 5   time within which the trial of this case must be commenced under the Speedy Trial Act should
 6   therefore be excluded under 18 U.S.C. Section 3161(h)(7)(B) (iv), corresponding to Local Code
 7   T-4 (to allow defense counsel time to prepare) from the date of the parties’ stipulation, August
 8   2, 2016, up to and including August 19, 2016.
 9   IT IS SO STIPULATED.
10
     Dated: August 2, 2016                                       PHILLIP A. TALBERT
11                                                               UNITED STATES ATTORNEY

12                                                        by:    /s/ Matthew Morris
                                                                 MATTHEW MORRIS
13
                                                                 Assistant U.S. Attorney
14                                                               Attorney for Plaintiff

15   Dated: August 2, 2016                                       /s/ Kelly Babineau
16
                                                                 KELLY BABINEAU
                                                                 Attorney for Defendant
17                                                               Kristin Caldwell
18   Dated: Ausgust 2, 2016                                      /s/ Olaf Hedberg
19
                                                                 OLAF HEDBERG
                                                                 Attorney for Defendant
20                                                               WILLIAM L. BROWN
21
     Dated: August 2, 2016                                       /s/ Kyle R. Knapp
22                                                               KYLE KNAPP
                                                                 Attorney for Defendant
23                                                               XAVIER JOHNSON
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 1
                                         [PROPOSED] ORDER
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            The Stipulation of the parties is hereby accepted and the requested continuance is
 3
     GRANTED. This matter shall be dropped from this court’s August 5, 2016 criminal calendar
 4
     and re-calendared for status conference on August 19, 2016.
 5
            Based on the representations of the parties the court finds that the ends of justice served
 6
     by granting this continuance outweigh the interests of the public and the defendant in a speedy
 7
     trial. Time is excluded from the time of the filing of this stipulation on August 2, 2016, through
 8
     and including August 19, 2016.
 9

10          IT IS SO ORDERED.
     Dated: August 2, 2016
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